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                    PUBLIC GROUNDS APPROPRIATED
       Act of Apr. 14, 1868, P.L. 1083, No. 1020                  Cl. 11
                         A SUPPLEMENT
To an act, entitled "An Act appropriating ground for public
   purposes in the city of Philadelphia," approved the
   twenty-sixth day of March, Anno Domini one thousand eight
   hundred and sixty-seven.
   Section 1. Boundaries of Park
   The boundaries of the Fairmount Park in the City of
Philadelphia shall be the following, to wit: Beginning at a
point in the north-easterly line of property owned and occupied
by the Reading Railroad Company, near the City Bridge over the
river Schuylkill at the falls, where said north-easterly line
would be intersected by the land dividing the property of H.
Duhring from that of F. Stoever and T. Johnson, if the same
were extended from thence in a south-westerly direction upon
said dividing line, and its prolongation to the middle of the
Ford Road, from thence by a line passing through the southeast
corner of Forty-ninth and Lebanon Streets to George's Run;
thence along the several courses of said run to a point fourteen
hundred and eighty-seven and a half feet from the middle of the
Pennsylvania Railroad, measured at right angles thereto; thence
by a straight line through the northeast corner of Forty-Third
and Hancock Streets, to the northerly side of Girard Avenue
near Fortieth Street; thence by the said northerly line of
Girard Avenue to the easterly side of the Junction Railroad as
now used; thence by the said easterly side of the Junction
Railroad and the Pennsylvania Railroad to the north side of
Haverford Street; thence by the northerly side of said Haverford
Street to the westerly side of Bridgewater Street; thence by
said Bridgewater Street to the north line of Bridge Street;
thence by said Bridge Street to the west abutment of the
Suspension Bridge; hence by the northwesterly side of the
Suspension Bridge and Callowhill Street to the angle in said
street, on the southwesterly side of Fairmount Basin; thence
by the northerly side of Callowhill and Biddle Streets to the
westerly side of Twenty-fifth Street; thence by the said
Twenty-fifth Street to the southwesterly side of Pennsylvania
Avenue; thence by the southwesterly side of Pennsylvania Avenue
to the west side of Twenty-third Street; thence along the
westerly side of Twenty-third Street to the southwesterly line
of Ridge Avenue; thence along the said Ridge Avenue to the
southwesterly line of South Laurel Hill Cemetery (north of
Huntingdon Street); thence by and along said property line to
such a distance from the shore line of the River Schuylkill as
will permit the location of a carriage road one hundred feet
wide upon its margin; thence along said river shore and its
several courses as may be most practicable, at the same distance
as above specified (provided said distance shall not exceed one
hundred and fifty feet), to a point opposite the intersection
of the Ridge Turnpike and School Lane; thence northwardly to a
point on the southwesterly side of said Turnpike Road opposite
to the southeasterly side of said School Lane; thence by the
southwesterly side of the Ridge Turnpike Road and its several
courses to the southeasterly side of the Wissahickon Creek;
thence by the several courses of the said southeasterly side
of Wissahickon Creek to the Schuylkill River; thence across the
watercourse of said river to the northeasterly line of the
Reading Railroad Company's property as now occupied and in use,
at the city boundary line; thence along said northeasterly line,
as now occupied and used by said railroad company, to the place
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of beginning,    excepting, Document 95-12 Filed
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water-works and their appurtenances, which are included within
these boundaries, and such uses of the premises immediately
adjacent to the same, and such other portions of the ground as
are described in this section, as the City of Philadelphia may
from time to time require for the purposes of its Water
Department. 1868, April 14, P.L. 1083, Sec. 1; 1869, April 21,
P.L. 1194, Sec. 8.
   Section 2. Robert's Hollow Drive
   There shall be laid out and constructed a road of easy and
practicable grades, extending from the intersection of the
northerly line of the park by Belmont Avenue on the westerly
side of the River Schuylkill, to the head of Robert's Hollow,
and thence along said hollow and the River Schuylkill to the
foot of City Avenue, laid out with the ground contiguous thereto
for ornamentation, of such width and so constructed as the
Commissioners of Fairmount Park, appointed under authority of
the act of the General Assembly of the Commonwealth, may
determine. And such road and its contiguous ground are hereby
declared to be a part of the aforesaid park; and the said park
commissioners are hereby authorized and required to ascertain,
by a proper survey, the limits thereof, which survey they shall
file in the Survey Department of the City of Philadelphia.
   It shall also be the duty of said park commissioners to
appropriate the shores of the Wissahickon Creek, on both sides
of the same from its mouth to the Paul's Mill Road, and of such
width as may embrace the road now passing along the same; and
may also protect the purity of the water of said creek, and by
passing along the crest of the heights which are on either side
of said creek, may preserve the beauty of its scenery. The said
park commissioners are hereby authorized and required to cause
a proper survey to be made of said grounds upon the Wissahickon,
and to file said survey in the Survey Department of the City
of Philadelphia, and the grounds and creek hereby appropriated
are declared to be a part of Fairmount Park. 1868, April 14,
P.L. 1083, Sec. 2.
   Section 3. Title to Ground
   The title to and ownership of the ground within said
boundaries shall be vested in the City of Philadelphia,
excepting therefrom so much as shall be required by the
Schuylkill Navigation Company, the Philadelphia and Reading,
the Junction and connecting railroad companies for the execution
of their franchises, as now provided by law. 1868, April 14,
P.L. 1083, Sec. 3.
   Section 4. Release of Ground not Embraced in Boundaries
   So much of the ground as was embraced in the act to which
this is a supplement, approved the twenty-sixth day of March,
one thousand eight hundred and sixty-seven, (Act of 1867, March
26, P.L. 547) and is not included in the above boundaries, is
hereby released from all claim of title by the said city, with
the same effect as if it had never been included. 1868, April
14, P.L. 1083, Sec. 4.
   Section 5. Grounds Subject to Control of Commissioners;
Comepnsation
   All the grounds taken within the boundaries of the Fairmount
Park by the first section of this act shall be subject to all
the powers and control given, by the act (Act of 1867, March
26, P.L. 547) to which this is a supplement, to the City of
Philadelphia and the park commissioners designated by or
appointed under said act; and the owners of all ground taken
for the park, and others interested therein, shall be
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compensated   as in said actDocument 95-12 Filed
                              is directed        09/06/23 Page
                                           and provided.       3 of 7April
                                                            1868,
14, P.L. 1083, Sec. 5.
   Section 6. Vacation and Opening of Roads and Streets
   The said commissioners shall have power and authority, from
time to time, to vacate any street or road within the boundaries
of the park (excepting Girard Avenue), and to open for public
use such other roads, avenues and streets therein as they deem
necessary. 1868, April 14, P.L. 1083, Sec. 6.
   Section 8. Footways on Boundary Streets
   The jurisdiction of the commissioners of the park shall
extend to the breadth of the footway next the park, in all
avenues or streets which shall bound upon the park, and they
shall direct the manner in which such footways shall be laid
out, curbed, paved, planted and ornamented; which footways shall
not be less than twenty feet in width on any avenue or street
of the width of one hundred feet, and of like proportion upon
any street or avenue of a greater or less width, unless
otherwise directed by the commissioners. 1868, April 14, P.L.
1083, Sec. 8.
   Section 9. Compensation for Buildings; Removal of Buildings,
etc.; Taking Possession
   The said park commissioners or jury, who shall assess the
compensation to the owners for the ground taken, shall ascertain
and make compensation for buildings as well as the ground taken;
but all buildings and machinery and fixtures not required by
the Park Commission shall be removed by the owners thereof
whenever payment of the compensation awarded them shall be made
or tendered to them, and upon such payment or tender the park
commissioners shall forthwith take possession of the premises.
   If any owner or lessee of ground taken cannot be found,
notice of the taking and valuation of his land shall be given
by advertisement in two daily papers published in Philadelphia
six times, and in the Legal Intelligencer twice, and the amount
awarded in such case to the owner or lessee shall remain in the
City Treasury until such owner shall produce the decree of the
court having jurisdiction in the premises, ordering the said
moneys to be paid to him or his legal representatives. 1868,
April 14, P.L. 1083, Sec. 9.
   Section 10. Rrports of Commissioners and Jury; Duration of
Jury's Powers; Appointment for One or More Cases; Payment of
Valuation
   The said commissioners and jury may make partial or special
reports from time to time to the court as they may be ready to
do so, and the court may act upon such reports separately, and
the powers of the jury shall continue, unless limited by the
court or they be required by the court to make report, until
they shall have reported on all the cases on which they have
been appointed, although a term or terms of the courts shall
have intervened; and jurors, not to exceed six in number, may
be appointed upon one or more cases according to the order of
the court made; and whenever any report of the said
commissioners or of the jury shall have been confirmed by the
court, the valuation made shall be forthwith payable by the
City of Philadelphia. 1868, April 14, P.L. 1083, Sec. 10.
   Section 11. Loans for Purposes of Park
   The City of Philadelphia shall be authorized and required
to raise by loans, from time to time, such sums of money as
shall be necessary to make compensation for all grounds
heretofore taken or to be taken for said Fairmount Park, and
for the laying out and construction thereof for public use; for
the permanent care and improvement thereof, and for all culverts
and other means for preserving the Schuylkill water pure for
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the use      the citizens of Document 95-12 and
                               said city,   Filed shall
                                                  09/06/23annually
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taxes for keeping in repair and good order the said park; and
shall also provide for the payment of the interest on all said
loans, and the usual sinking fund for the redemption thereof.
1868, April 14, P.L. 1083, Sec. 11.
   Section 12. Officers and Employees
   The said park commissioners shall, from time to time, appoint
such officers, agents, and subordinates as they may deem
necessary, for the purposes of this act and the act (Act of
1867, March 26, P.L. 547) to which this a supplement; and they
shall prescribe the duties and the compensation to be paid them.
 1868, April 14, P.L. 1083, Sec. 12.
   Section 13. Acquisition and Sale of Lands
   It shall be lawful for said park commissioners to acquire
title to the whole of any tract of land, part of which shall
fall within the boundaries mentioned in the first section of
this act, and to take conveyance thereof in the name of the
City of Philadelphia; and such part thereof as shall lie beyond
or without the said park limits, again to sell and convey in
absolute fee-simple to any purchaser or purchasers thereof, by
deeds to be signed by the mayor, under the seal of the city,
to be affixed by direction of councils, either for cash, or
part cash and part to be secured by bond and mortgage to the
city, paying all cash into the City Treasury. Provided, That
the proceeds of such sales shall be paid into the Sinking Fund
for the redemption of the loan created under the provisions of
this act: Provided also, That no commissioner, nor any officer
under the Park Commission, shall in anywise be directly
interested in any such sale of lands by the commissioners as
aforesaid; and if any commissioner or officer aforesaid shall
act in violation of this proviso, he shall, if a commissioner,
be subject to expulsion; if an officer, to be discharged by a
majority of the votes of the Board of Park Commissioners, after
an opportunity afforded of explanation and defense. 1868, April
14, P.L. 1083, Sec. 13; 1870, Jan. 27, P.L. 93, Sec. 2.
   Section 14. Annual Report
   The said board of commissioners shall annually hereafter,
in the month of December, make to the Mayor of the City of
Philadelphia a report of their proceedings, and a statement of
their expenditures for the preceding year. 1868, April 14, P.L.
1083, Sec. 14.
   Section 15. Leases of Houses and Buildings
   The said park commissioners shall have exclusive power to
lease from year to year all houses and buildings within the
park limits, which may be let without prejudice to the interests
and purposes of the park by leases to be signed by their
president and secretary, and to collect the rents and pay them
into the City Treasury. 1868, April 14, P.L. 1083, Sec. 15.
   Section 16. Club Houses and Zoological and Other Buildings
   All houses and buildings now built or to be built on any
part of the park grounds, by or for boat or skating clubs, or
zoological or other purposes, shall be taken to have rights
subordinate to the public purposes intended to be subserved by
acquiring and laying out the park, and shall be subject to the
regulations of said park commissioners under licenses, which
shall be approved by the commission and signed by the president
and secretary, and will subject them to their supervision and
to removal or surrender to the city whensoever the said
commissioners may require. 1868, April 14, P.L. 1083, Sec. 16.
   Section 17. Acceptance of Devises, Bequests and Donations
   The said park commissioners shall have power to accept, in
the name and behalf of the City of Philadelphia devises,
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bequests  and donations ofDocument
                            lands,95-12 Filed objects
                                   moneys,    09/06/23 Page 5 of 7and
                                                       of art
natural history, maps and books, or other things, upon such
trusts as may be prescribed by the testator or donor: Provided,
Such trusts be satisfactory to the commission and compatible
with the purposes of said park. 1868, April 14, P.L. 1083, Sec.
17.
   Section 18. Creation of Debts and Obligations
   None of the park commissioners nor any person employed by
them shall have power to create any debt or obligation to bind
said Board of Commissioners, except by the express authority
of the said commissioners at a meeting duly convened. 1868,
April 14, P.L. 1083, Sec. 18.
   Section 19. Government and Management of Park; Improvements;
Repressing Disorders
   The said park commissioners shall have the power to govern,
manage, lay out, plant and ornament the said Fairmount Park,
and to maintain the same in good order and repair, and to
construct all proper bridges, buildings, railways and other
improvements, therein, and to repress all disorders therein
under the provisions hereinafter contained. 1868, April 14,
P.L. 1083, Sec. 19.
   Section 20. Licensing of Passenger Railways
   The said park commissioners shall have authority to license
the laying down and the use for a term of years from time to
time of such passenger railways as they may think will comport
with the use and enjoyment of the said park by the public, upon
such terms as said commissioners may agree, all emoluments from
which shall be paid into the City Treasury. 1868, April 14,
P.L. 1083, Sec. 20.
   Section 21. Park to be Under Regulations Specified and Such
Others as may be Established
   The said park shall be under the following rules and
regulations, and such others as the park commissioners may from
time to time ordain:
   1. No person shall turn cattle, goats, swine, horses, or
other animals, loose into the park.
   2. No person shall carry fire-arms, or shoot birds, in the
park, or within fifty yards thereof, or throw stones or other
missiles therein.
   3. No one shall cut, break, or in anywise injure or deface
the trees, shrubs, plants, turf, or any of the buildings,
fences, structures, or statuary, or foul any fountains or
springs within the park.
   4. No person shall drive or ride therein at a rate exceeding
seven miles an hour.
   5. No one shall ride or drive therein upon any other than
upon the avenues and roads.
   6. No coach or vehicle, used for hire, shall stand upon any
part of the park for the purpose of hire, nor except in waiting
for persons taken by it into the park, unless in either case
at points designated by the commission.
   7. No wagon, or vehicle of burden or traffic, shall pass
through the park except upon such road or avenue as shall be
designated by the park commissioners for burden transportation.
   8. No street railroad car shall come within the lines of
the park without the license of the Park Commission.
   9. No person shall expose any article for sale within the
park without the previous license of the Park Commission.
   10. No person shall take ice from the Schuylkill within the
park without the license of the said commission first had, upon
such terms as they may think proper.
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   11.  No8:21-cv-01736-TDC Document 95-12
            threatening, abusive,          Filed 09/06/23
                                     insulting            Page 6language
                                                  or indecent    of 7
shall be allowed in the park.
   12. No gaming shall be allowed therein, nor any obscene or
indecent act therein.
   13. No person shall go in to bathe within the park.
   14. No person shall fish, or disturb the water-fowl in the
pool, or any pond, or birds in any part of the park, nor
discharge any fireworks therein, nor affix any bills or notices
therein.
   15. No person shall have any musical, theatrical or other
entertainment therein without the license of the park
commissioners.
   16. No person shall enter or leave the park except by such
gates or avenues as may be for such purposes arranged.
   17. No gathering or meeting of any kind, assembled through
advertisements, shall be permitted in the park without the
previous permission of the commission; nor shall any gathering
or meeting for political purposes in the park be permitted under
any circumstances.
   18. No intoxicating liquors shall be allowed to be sold
within said park. 1868, April 14, P.L. 1083, Sec. 21.
   Section 22. Compensation for Licenses
   If said park commissioners should license the taking of ice
in said park, or the entry of any street railroad car therein,
or articles for sale, or musical entertainments, it may be with
such compensation as they may think proper, to be paid into the
City Treasury.
   Any person who shall violate any of said rules and
regulations, and any others which shall be ordained by the said
park commissioners, for the government of said park, not
inconsistent with this act, or the laws and Constitutions of
this State and the United States---the power to ordain which
rules and regulations is hereby expressly given to said
commissioners---shall be guilty of a misdemeanor, and shall pay
such fine as may be prescribed by said park commissioners, not
to exceed five dollars for each and every violation thereof,
to be recovered before any alderman of said city, as debts of
that amount are recoverable, which fines shall be paid into the
City Treasury.
   Any person violating any of said rules and regulations shall
be further liable to the full extent of any damage by him or
her committed, in trespass or other action; and any tenant or
licensed party who shall violate the said rules, or any of them,
or consent to or permit the same to be violated on his, or her,
or their premises, shall forfeit his, or her, or their lease
or license, and shall be liable to be forthwith removed by a
vote of the Park Commission; and every lease and license shall
contain a clause making it cause of forfeiture thereof for the
lessee or party licensed to violate or permit or suffer any
violation of said rules and regulations or any of them.
   It shall be the duty of the police appointed to duty in the
park, without warrant, forthwith to arrest any offender against
the preceding rules and regulations, whom they may detect in
the commission of such offence, and to take the persons so
arrested forth with before a magistrate having competent
jurisdiction. 1868, April 14, P.L. 1083, Sec. 22.
   Section 23. Disposition and Use of Moneys Received
   All rents, license charges and fees, all fines, proceeds of
all sales, except of lands purchased, and profits of whatsoever
kind, to be collected, received, or howsoever realized, shall
be paid into the City Treasury as a fund to be exclusively
appropriated by councils for park purposes, under the direction
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                        Provided,    95-12
                                  That     Filed 09/06/23
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                                                  or property   of 7  or
bequeathed to the park commissioners upon specified trusts shall
be received and receipted for by their treasurer, and held and
applied according to the trusts specified. 1868, April 14, P.L.
1083, Sec. 23.
   Section 24. Widening and Straightening Approaches
   The councils of the City of Philadelphia be and they are
hereby authorized to widen and straighten any street laid upon
the public plans of said city, as they may think requisite to
improve the approaches to Fairmount Park. 1868, April 14, P.L.
1083, Sec. 24.
   Section 26. Proceedings to Assess Damages
   The damages for ground and property taken for the purpose
of this act shall be ascertained, adjusted and assessed in like
manner as is prescribed by the act (Act of 1867, March 26, P.L.
547) to which this is a supplement. 1868, April 14, P.L. 1083,
Sec. 26.
   Section 27. Park Police
   The said park commissioners shall employ, equip, and pay a
park force, adequate to maintain good order therein and in all
houses thereupon; which force shall be subject to the orders
of the mayor upon any emergency; and so far as said force shall
consist of others than the hands employed to labor in the park,
it shall be appointed and controlled as the other police of the
city. 1868, April 14, P.L. 1083, Sec. 27.
   Section 28. Solicitor
   There shall be appointed by the commissioners of Fairmount
Park, a solicitor, whose duty it shall be under their direction
to attend to the assessment of damages, and to such other
business of a legal nature connected with the park as the
commissioners may require; he shall receive during the present
year and hereafter, until otherwise ordered by councils, the
same compensation as is now provided for the assistant solicitor
named in the said twenty-eighth section. (Act of 1868, April
14, P.L. 1083, Sec. 28, repealed.) 1870, Jan. 27, P.L. 93, Sec.
5.
